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 5   Attorneys for Defendant
 6   The Moody Bible Institute of Chicago
 7                     UNITED STATES DISTRICT COURT
 8                    EASTERN DISTRICT OF WASHINGTON
 9
     YUKI LEE, in her capacity as                 No.
10   personal representative of the Estate
     of her deceased husband,
11   JOOCHAN LEE, individually and
     Decedent’s surviving wife, and in            NOTICE OF REMOVAL OF
12   her capacity as Guardian of their
     minor daughter, A.L., both as                ACTION PURSUANT TO 28
13   beneficiaries and heirs of                   U.S.C. § 1441(b) BY
     Decedent’s estate,                           DEFENDANT THE MOODY
14
                             Plaintiffs,          BIBLE INSTITUTE OF
15                                                CHICAGO
     vs.
16
     THE MOODY BIBLE INSTITUTE
17   OF CHICAGO, an Illinois
     corporation,
18
                         Defendant.
19
20
           PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441, and
21
22   1446, Defendant THE MOODY BIBLE INSTITUTE OF CHICAGO (“Moody

23   Bible”) hereby removes this civil action from the Superior Court of the State of
24
     Washington in and for the County of Spokane, where it is currently pending as
25
26   Case No. 19-2-03757-32, to the United States District Court for the Eastern

27   District of Washington.
28

     NOTICE OF REMOVAL - 1
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 1        This Court has original jurisdiction over this action pursuant to 28 U.S.C. §
 2
     1332(a) on the grounds that complete diversity exists between the parties and the
 3
 4   amount in controversy exceeds the sum of $75,000, exclusive of interest and costs.

 5   Plaintiffs, Yuki Lee individually, as personal representative of the estate of her
 6
     deceased husband, Joochan Lee, and as guardian of their minor daughter, A.L.
 7
 8   (hereinafter “Plaintiffs”), are citizens of Washington. Defendant, Moody Bible, is
 9   a citizen of Illinois. Finally, it is clear from Plaintiffs’ Complaint itself that the
10
     amount in controversy exceeds $75,000.
11
12                                    BACKGROUND
13        On August 29, 2019, an action was commenced in the Superior Court of the
14
     State of Washington in and for the County of Spokane, entitled Yuki Lee in her
15
16   capacity as Personal Representative of the Estate of her deceased husband
17   JOOCHAN LEE, individually as Decedent’s surviving wife, and in her capacity
18
     as Guardian of their minor daughter, A.L., both as beneficiaries and heirs of
19
20   Decedent’s estate v. The Moody Bible Institute of Chicago, an Illinois
21   Corporation, as Case No. 19-2-03757-32. Pursuant to 28 U.S.C. § 1446(a), a copy
22
     of the Summons and Complaint is attached hereto as Exhibit A.
23
24        Plaintiffs’ Complaint sounds in wrongful death. Plaintiffs allege decedent,
25
     Joochan Lee, was killed in an air crash while a student on board a training flight
26
     conducted by Moody Bible. (Exhibit A, ¶ 1.1). The air crash occurred on July 13,
27
28   2018, near Deer Park, Washington. (Exhibit A, ¶ 1.1). Decedent was 24 years-old

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 1   at the time of his death. Plaintiffs Complaint does not contain a statement of the
 2
     damages sought, but seeks all damages recoverable in a wrongful death case under
 3
 4   Washington law. (Exhibit A, ¶¶ 8.1 – 8.5).

 5                              GROUNDS FOR REMOVAL
 6
       A. Standard for Removal.
 7
 8            As set forth more fully below, this Court has subject matter jurisdiction
 9   under 28 U.S.C. 1332, which confers original jurisdiction on a district court for
10
     “all civil actions where the matter in controversy exceeds the sum or value of
11
12   $75,000, exclusive of interest and costs, and is between . . . citizens of different
13   States and in which citizens or subjects of a foreign state are additional parties[.]”
14
     A party to a civil action brought in state court may remove that action to federal
15
16   court if the district court would have had original jurisdiction at the time of both
17   commencement of the action and removal. See 28 U.S.C. § 1441(a).
18
              To remove a case from a state court to a federal court, a defendant must file
19
20   in the federal forum a notice of removal “containing a short and plain statement of
21   the grounds for removal.” 28 U.S.C. § 1446(a). “By design, §1446(a) tracks the
22
     general pleading requirement stated in Rule 8(a) of the Federal Rules of Civil
23
24   Procedure.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 87
25
     (2014). Consequently, courts should apply the same liberal rules to removal
26
     allegations that are applied to other matters of pleading. Dart Cherokee, 574 U.S.
27
28   at 87.

     NOTICE OF REMOVAL - 3
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 1     B. There is Complete Diversity of Citizenship.
 2
          Plaintiffs are citizens of Washington. A natural person is considered a citizen
 3
 4   of a state if that person is domiciled within that state. 28 U.S.C. § 1332. An

 5   executor or a guardian is considered to be a citizen only of the state of the
 6
     individual the executor or guardian represents in the litigation. 28 U.S.C. §
 7
 8   1332(c)(2). Specifically, “[t]he legal representative of the estate of a decedent shall
 9   be deemed to be a citizen only of the same State as the decedent, and the legal
10
     representative of an infant or incompetent shall be deemed to a citizen only of the
11
12   same State as the infant or incompetent.” Id.
13        Plaintiff Yuki Lee is domiciled in Washington in her individual capacity.
14
     Consequently, she is a citizen of Washington. Yuki Lee has resided in Washington
15
16   since at least 2015. Yuki Lee was married in Washington and gave birth to her
17   child in Washington. Yuki Lee is the duly appointed Personal Representative of
18
     the Estate of Decedent Joochan Lee filed under Spokane County Superior Court
19
20   cause of action #19-4-s01268-32. (Exhibit A, ¶ 2.1). The Petition to Appoint a
21   Personal Representative establishes Yuki Lee resides in Colfax, Washington. A
22
     copy of The Petition to Appoint a Personal Representative is attached hereto as
23
24   Exhibit B, ¶ 6.
25
          Plaintiff Yuki Lee is a citizen of Washington in her capacity as the personal
26
     representative of the estate of the decedent, Joochan Lee. Joochan Lee was a
27
28   resident of Washington from 2015 until his death. (Exhibit B, ¶ 1). Joochan Lee

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 1   left an estate and property in Spokane County, Washington at the time of his death.
 2
     (Exhibit B, ¶ 1). Joochan Lee was domiciled in Washington at the time of his
 3
 4   death. Consequently, he was a citizen of Washington.

 5        Plaintiff Yuki Lee is a citizen of Washington in her capacity as guardian of
 6
     her minor daughter, A.L. A minor normally takes her parents’ domicile. Miss.
 7
 8   Band of Choctaw Indians v. Holyfield, 490 U.S. 30, 48 (1989). A.L. was born in
 9   Washington. A.L. current resides in Colfax, Washington. Further, as was
10
     established supra, A.L.’s parents are both citizens of Washington.
11
12        Moody Bible is a citizen of Illinois. The federal diversity statute provides
13   that “a corporation shall be deemed to be a citizen of any State by which it has
14
     been incorporated and of the State where it has its principal place of business.” 28
15
16   U.S.C. § 1332(c)(1). The United States Supreme Court has held the phrase
17   “principal place of business” refers to the place where the corporation’s high level
18
     officers direct, control, and coordinate the corporation’s activities.” Hertz Corp. v.
19
20   Friend, 559 U.S. 77, 80 (2010).
21         Plaintiffs’ Complaint names Moody Bible as the sole defendant. Moody
22
     Bible was incorporated in Illinois. Additionally, its principal place of business is
23
24   in Chicago, Illinois. Plaintiffs admit Moody Bible “maintains its headquarters in
25
     Chicago, Illinois.” (Exhibit A, ¶ 2.2). Plaintiffs further admit “Moody is and has
26
     been an Illinois Corporation.” (Exhibit A, ¶ 2.2).
27
28         All Plaintiffs are citizens of Washington. The Defendant is a citizen of

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 1   Illinois. Accordingly, there is complete diversity of citizenship between the
 2
     parties.
 3
 4     C. The Amount-In-Controversy Requirement is Satisfied

 5          When diversity of parties exists, the district courts shall have original
 6
     jurisdiction where the matter in controversy exceeds the sum or value of $75,000.
 7
 8   28 U.S.C. 1332. When the plaintiff’s complaint does not state the amount in
 9   controversy, the defendant’s notice of removal may do so. §1446(c)(2)(A). In Dart
10
     Cherokee, the United States Supreme Court held that “a defendant’s notice of
11
12   removal need include only a plausible allegation that the amount in controversy
13   exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v.
14
     Owens, 574 U.S. 81, 89 (2014).
15
16          Plaintiffs’ Complaint does not state the amount in controversy. The
17   Complaint sounds in Wrongful Death. Under Washington law, the deceased’s
18
     estate and the surviving spouse and children may recover economic and non-
19
20   economic damages. RCW § 4.20.020. Here, Plaintiffs seek all compensable
21   damages available under Washington law.
22
            Specifically, Plaintiffs seek damages related to the decedent’s “pre-death
23
24   fright, terror, and pain and other suffering.” (Exhibit A, ¶ 8.1). Plaintiffs allege the
25
     “estate suffered damages including, but not limited to, loss of net accumulations
26
     of income – both past and future, funeral expenses, medical expenses, and
27
28   premature estate taxes.” (Exhibit A, ¶ 8.2).

     NOTICE OF REMOVAL - 6
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 1           Plaintiffs allege Yuki Lee and her minor daughter “suffered past and future
 2
     special damages including, but not limited to, loss of support, services, inheritance,
 3
 4   guidance, advice, and counseling they would have received from their husband

 5   and father had he been allowed to live a full life.” (Exhibit A, ¶ 8.3). Plaintiffs
 6
     further allege Yuki Lee and her minor daughter “sustained general damages
 7
 8   including, but not limited to, extreme mental anguish, grief and sorrow, and the
 9   loss of their husband and father’s love and affection, consortium, nurture, society
10
     companionship and the destruction of the parent-child relationship.” (Exhibit A, ¶
11
12   8.4).
13           Accordingly, the amount in controversy in this action exceeds $75,000,
14
     exclusive of interest and costs.
15
16     D. The Other Prerequisites for Removal Are Satisfied
17           The notice of removal “shall be filed within 30 days after the receipt by the
18
     defendant . . . or within 30 days after the service of summons upon the defendant
19
20   if such initial pleading has then been filed in court . . .”. 28 U.S.C. § 1446(b)(1).
21   Here, Plaintiffs’ Complaint was filed in the Superior Court of the State of
22
     Washington in and for the County of Spokane on August 29, 2019. (Exhibit A). It
23
24   was served on Moody Bible on September 4, 2019. Consequently, this Notice of
25
     Removal is timely filed.
26
             This action is properly removed to the United States District Court for the
27
28   Eastern District of Washington, Spokane Division, which is “the district and

     NOTICE OF REMOVAL - 7
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 1   division embracing the place where [the] action is pending.” 28 U.S.C. § 1441(a).
 2
            Title 28 U.S.C. § 1446(a) requires a copy of all process, pleadings, and
 3
 4   orders served upon the removing defendant in the state court action to be included

 5   with this Notice of Removal. Moody Bible was served with Plaintiffs’ Summons
 6
     and Complaint, which is attached hereto as Exhibit A.
 7
 8          If any question arises as to the propriety of the removal of this action,
 9   Moody Bible respectfully requests the opportunity to submit briefing and oral
10
     argument and to conduct discovery in support of its position that subject matter
11
12   jurisdiction exists.
13        Respectfully submitted this 24th day of September, 2019.
14
                                          KSB LITIGATION, P.S.
15
16                                        By: s/ William C. Schroeder
                                                 William C. Schroeder, #41986
17                                               221 N. Wall St., Ste. 210
18                                               Spokane, WA 99201
                                                 Telephone: (509) 624-8988
19                                               wcs@ksblit.legal
20                                               Attorneys for Defendant Moody
                                                 Bible Institute of Chicago
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     NOTICE OF REMOVAL - 8
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 1
 2                           CERTIFICATE OF SERVICE

 3         I hereby certify that on this 24th day of September, 2019, I electronically
 4   filed the foregoing with the Clerk of the Court using the CM/ECF System which
     will send notification of such filing to all parties and counsel which are filing
 5   users (LR 5.1(b)), and that I have mailed by United States Postal Service this
 6   document to the following non CM/ECF participants:
 7   No manual recipients
 8                                        By: s/ William C. Schroeder
                                                 William C. Schroeder
 9                                               KSB Litigation, P.S.
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12                                               wcs@ksblit.legal
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13                                               Bible Institute of Chicago
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     NOTICE OF REMOVAL - 9
